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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY

   JOHNNIE SIMS-MADISON,                         :
                                                 :
                    Plaintiff,                   :   Case No. 4:20-cv-00071
                                                 :
              vs.                                :
                                                 :   Sr. Judge Joseph H. McKinley, Jr.
   DANA COMMERCIAL VEHICLE                       :
   MANUFACTURING, LLC,                           :
                                                 :
                                                 :
                                                 :
                    Defendant.                   :


                    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Defendant Dana Commercial Vehicle Manufacturing, LLC (“Dana”) requests that the

 Court grant it summary judgment under Fed. R. Civ. P. 56 on Plaintiff Johnnie Sims-Madison’s

 claims. It submits there are no genuine issues of material fact and that judgment in its favor is

 appropriate as a matter of law. Dana relies on the following memorandum and the discovery

 material filed in support of this motion.

                                               Respectfully submitted,

                                               /s/ Brian G. Dershaw
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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY

   JOHNNIE SIMS-MADISON,                         :
                                                 :
                    Plaintiff,                   :   Case No. 4:20-cv-00071
                                                 :
              vs.                                :
                                                 :   Sr. Judge Joseph H. McKinley, Jr.
   DANA COMMERCIAL VEHICLE                       :
   MANUFACTURING, LLC,                           :
                                                 :   DEFENDANT’S MEMORANDUM
                                                 :   IN SUPPORT OF MOTION FOR
                                                 :   SUMMARY JUDGMENT
                    Defendant.                   :



                                       I.    INTRODUCTION

         Defendant Dana Commercial Vehicle Manufacturing, LLC (“Dana”) terminated the

 employment of Plaintiff Johnnie Sims-Madison in February 2019 after her African American and

 Caucasian coworkers complained about her disrespectful, bullying, and profane conduct and

 words directed at them. That was the last straw for Ms. Sims-Madison, who was under a final

 written warning prohibiting those exact behaviors. Thirteen months later, she filed this lawsuit

 alleging race and age discrimination and wrongful termination. Dana has denied these claims

 and now requests that the Court dismiss them.

                                      II.   RELEVANT FACTS

         Dana manufactures heavy-duty truck axles. (Declaration of David J. Greenham attached

 as Exhibit 1 (“Greenham Decl.”), ¶ 2). Ms. Sims-Madison joined Dana in 2003, working most

 of her tenure as a material handler. (DN 18, Deposition of Johnnie Sims-Madison, January 5,

 2021 (“DN 18”), pp. 13:9—10; 15:5—12). A material handler moves parts. (DN 18, p. 15:13—

 22). Ms. Sims-Madison was also a member of the United Steel, Paper and Forestry, Rubber,




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 Manufacturing, Energy, Allied Industrial and Service Workers International Union, Local 9443-

 2 (“Union”), which represented certain Dana employees. (DN 18-4).

         Throughout her time with Dana, Ms. Sims-Madison’s coworkers—African American and

 Caucasian—would complain to management about her conduct towards them. (DN 18, pp.

 18:9—18 (alleged to have called her coworker a “bitch”); 33:12—19 (using bad language and

 verbally harassing another coworker); 37:2—15 (“bad attitude”; juvenile and irritating behavior);

 DN 18-13 and DN 18-14). With each report, Dana afforded Ms. Sims-Madison the opportunity

 to respond, and the Union could grieve any discipline imposed on her, some of which she won

 and some she lost. (DN 18, pp. 20:15—21:2; 26:8—16; 42:11—18).

         On average, Ms. Sims-Madison recalls she was “called to the office” because of

 coworker complaints or other conduct less than once yearly. (DN 18, p. 46:8—14). No matter

 the reason for, or substance of, the allegations (she “cannot tell you what they’re thinking or tell

 what caused it”), she believes most were racially motivated. (DN 18, pp. 44:16—24; 43:7—10).

         What is more, none of the above incidents involved David Greenham, Dana’s Human

 Resources Manager, who did not join Dana until 2015, and who issued Ms. Sims-Madison’s

 termination letter. (Greenham Decl., ¶¶ 1 and 3). After Mr. Greenham’s arrival, the complaints

 against Ms. Sims-Madison continued.

         In July 2017, Dana employees who were visiting the Henderson facility reported that Ms.

 Sims-Madison had been disrespectful. (DN 18, pp. 91:7—23; 93:19—95:23; DN 18-5). She

 believes this related to her directing the words “ass” and “fucking idiots,” which she denies

 saying, and “hell,” which she admits, towards them. (DN 18, pp. 92:10—94:7). Dana suspended

 Ms. Sims-Madison for one day for her conduct. (DN 18-5).




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         Just 13 months later, there were more complaints about Ms. Sims-Madison’s

 disrespectful behavior. This time, her coworkers accused her of calling an employee a “mother

 fucker,” and calling others “snitches” or an “f – snitch.” (DN 18, pp. 65:4—70:9; DN 18-3).

 Black and white employees witnessed or reported these events, but, unlike the other situations,

 Ms. Sims-Madison ascribes no racial animus to them. (DN 18, pp. 71:4—73:5).

         After receiving the report, Mr. Greenham met with Ms. Sims-Madison and Union

 president, Terry Yancy, to discuss the allegations. (DN 18, pp. 83:25—84:16). Ashley

 Robertson, HR Generalist, and Paul Laune, Dana’s Operations Manager, were also present.

 (Id.). Ms. Sims-Madison admitted saying “snitch,” denying the rest. (DN 18, pp. 88:9—89:3;

 93:13—14). She also exclaimed she just wanted to work five more months, and then she would

 retire. (DN 20-1, Transcript of Meeting, September 6, 2018 (“DN 20-1”), pp. 56:4—23; 63:15—

 16)1.

         Given the allegations, at first Dana suspended Ms. Sims-Madison for five days with the

 intent to terminate and referred her to the employee assistance program for her behavioral issues.

 (DN 18-3 and DN 18-7). Dana then reduced the suspension to one day and reinstated her to

 work because of the information she provided in the investigation, her 15 years of service to

 Dana, and her declaration that she intended to retire in January 2019. (DN 18-3 and DN 18-8).

 Dana also put Ms. Sims-Madison on a final warning, prohibiting any further disrespectful

 behavior. (DN 18-8).2 Ms. Sims-Madison and the Union accepted the discipline; neither grieved

 it. (DN 18, p. 109:9—12).


 1
   Ms. Sims-Madison surreptitiously recorded this meeting and others against Dana company policy. For summary
 judgment, Dana submits this transcript and recording without waiving any right to seek its exclusion or to use it,
 including as after-acquired evidence, in response to the Complaint. The recording has been separately filed at DN
 21.
 2
   Ms. Sims-Madison, during her deposition, appeared to question whether the September 14, 2018 letter at DN 18-8
 is what she received, as she recalls signing the letter, and it does not have her signature. (DN 18, pp. 109:9—12;
 131:21—134:10). That said, Ms. Sims-Madison produced the same letter. (DN 18-3, PageID #180).

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         Three days later, one of Dana’s non-Union, white, salaried customer service

 representatives reported that Ms. Sims-Madison disrespectfully ignored her and drove her fork

 truck away when she tried to give her a directive on a past-due hot job. (DN 18, pp. 120:5—24).

 Dana asked Ms. Sims-Madison what happened. (Id.; see also pp. 121:22—122:7). After hearing

 Ms. Sims-Madison’s version, Dana did not discipline her. (DN 18, p. 122:8—10).

         On October 16, another complaint came in about Ms. Sims-Madison’s behavior. (DN 18,

 p. 167:20—25). This time, a black supervisor reported her. (DN 18, p. 168:2—8). Dana

 listened to Ms. Sims-Madison’s response. (Id.). And again it imposed no discipline. (Id.).

         Then, in February 2019, coworkers—African American and Caucasian—complained

 about Ms. Sims-Madison conduct towards them (e.g., harassing behavior, intentionally blocking

 the aisle, and directing profanity at them). (DN 18, pp. 128:15—131:20). Dana advised Ms.

 Sims-Madison and her Union steward, Paul Pippin, of these complaints. (DN 18, pp. 134:21—

 135:17). Ms. Sims-Madison gave her side of the story. (DN 18, p. 143:17—23). Dana

 suspended her pending investigation. (DN 18, p. 136:14—17).

         After concluding the investigation, Dana terminated Ms. Sims-Madison by letter dated

 March 18, 2019, effective February 6, 2019, because it found she had violated her final warning.

 (DN 18, pp. 147:23—148:4; see also DN 18-3). She neither grieved nor followed up with the

 Union about grieving her termination. (DN 18, p. 148:5—20).

         Ms. Sims-Madison, a 68-year-old African American woman, then sued, alleging race and

 age discrimination and wrongful termination under the Kentucky Civil Rights Act (“KCRA”),

 KRS Chapter 344. (DN 1-3, Complaint). For the reasons below, Dana requests that this Court

 grant it summary judgment on Ms. Sims-Madison’s claims.




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                                              III.     ARGUMENT

         A.       Ms. Sims-Madison Cannot Make a Prima Facie Case of Race or Age
                  Discrimination or Show Pretext. 3

                  1.       Plaintiff’s Burden.

         Kentucky law prohibits an employer from discharging an employee because of her race

 or age. 42 U.S.C. § 2000e-2(a)(1); KRS 344.040(1)(a).4 When, as here, there is no direct

 evidence of discrimination, these claims will be analyzed using the McDonnell Douglas

 Corporation v. Green, 411 U.S. 792 (1973) burden-shifting approach, as modified in Texas

 Dep’t of Community Affairs v. Burdine, 450 U.S. 248, 252—53 (1981). See also Blizzard v.

 Marion Tech. Coll., 698 F.3d 275, 283 (6th Cir. 2012) (burden shifting for age discrimination

 claims).

         To start, the plaintiff must establish a prima facie case of race or age discrimination. Id.

 If she succeeds, an inference of discrimination arises, and the burden then shifts to the defendant

 to articulate some legitimate, nondiscriminatory reason for its actions. Burdine, 450 U.S. at

 252—53; Blizzard, 698 F.3d at 283. If the defendant articulates a nondiscriminatory reason for

 its actions, the plaintiff next has the burden of production to prove the proffered reason is pretext.

 McDonnell Douglas, 411 U.S. at 802; Blizzard, 698 F.3d at 283 (quoting Sutherland v. Mich.

 Dep’t. of Treasury, 344 F.3d 603, 615 (6th Cir. 2003)).

         At this stage, the plaintiff must produce “sufficient evidence from which a jury could

 reasonably reject the employer’s explanation for the termination.” Blizzard, 698 F.3d at 285

 3
   Kentucky courts interpret race and age discrimination claims under the KCRA the same as those under Title VII,
 42 U.S.C. 20000e-2, et seq. and the Age Discrimination in Employment Act (ADEA), 29 U.S.C. 621 et seq. Smith
 v. Leggett Wire Co., 220 F.3d 752, 758 (6th Cir. 2000) (race discrimination); Allen v. Highlands Hosp. Corp., 545
 F.3d 387, 393 (6th Cir. 2008) (age discrimination). Kentucky courts recognize that the same federal framework
 applies under Title VII cases and ADEA cases. Williams v. Wal-Mart Stores, Inc., 184 S.W.3d 492, 495 (Ky. 2005).
 Thus this Court is to use the federal standards for evaluating Ms. Sims-Madison’s race and age discrimination
 claims.
 4
   The KCRA is interpreted “in consonance with Title VII of the Federal Civil Rights Act of 1964.” American
 General Life & Accident Ins. Co., 74 S.W.3d 688, 691 (Ky. 2002).

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 (quoting Chen v. Dow Chem. Co., 580 F.3d 394, 400 (6th Cir. 2009)). A plaintiff can

 accomplish this by proving that the proffered reason (1) had no basis in fact; (2) did not actually

 motivate the discharge; or (3) was insufficient to motivate discharge. Id. (citation omitted).

         Above all, “[t]hroughout this burden-shifting approach, the plaintiff continues to bear the

 ultimate burden of proving, by a preponderance of the evidence, the intent to discriminate.”

 Wright v. Murray Guard, Inc., 455 F.3d 702, 707 (6th Cir. 2006) (citing St. Mary’s Honor Ctr. v.

 Hicks, 509 U.S. 502, 511 (1993)).

         As shown below, Ms. Sims-Madison has failed to meet her burden of proof as to both

 race and age discrimination.

                2.      Ms. Sims-Madison’s Race Discrimination Claim Should Be Dismissed.

         To establish a prima facie case of race discrimination, a plaintiff must show “(1) he or

 she was a member of a protected class; (2) he or she suffered an adverse employment action; (3)

 he or she was qualified for the position; and (4) he or she was replaced by someone outside the

 protected class or was treated differently than similarly-situated, non-protected employees.”

 DiCarlo v. Potter, 358 F.3d 408, 415 (6th Cir. 2004); see also Wilson v. Cleveland Clinic

 Found., 579 F. App’x 392, 396 (6th Cir. 2014) (citation omitted).

         Simply put, Ms. Sims-Madison’s claim fails because she cannot show any circumstances

 that would support an inference of race discrimination. She has failed to offer record evidence

 that Dana replaced her with someone outside her protected class.

         In fact, Dana did not replace her; it distributed her duties among others. (Greenham

 Decl., ¶ 4). “A person is not replaced when another employee is assigned to perform the

 plaintiff’s duties in addition to other duties, or when the work is redistributed among other

 existing employees already performing related work. A person is replaced only when another



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 employee is hired or reassigned to perform the plaintiff’s duties.” Barnes v. GenCorp Inc., 896

 F.2d 1457, 1465 (6th Cir. 1990) (citation omitted).

         All of that may be true, but Ms. Sims-Madison speculates Dana replaced her with Steve

 Leachman, who is white and 55 years old, as she believes he had bid for her job. (DN 18, pp.

 185:21—186:8; 190:2—13). Put differently, she asserts Dana filled a vacancy using the

 seniority provisions of the collective bargaining agreement. This means that Dana would have

 had no knowledge or control over any possible replacement, and thus it could have no

 discriminatory motive. See Mlinaric v. Parker Hannifin Corp., 853 F.2d 927 (6th Cir. 1988). So

 even if the Court would give Ms. Sims-Madison the benefit of the doubt on whether Dana

 replaced her position, she cannot show Dana did it outside her protected class.

         Likewise, Ms. Sims-Madison failed her burden of production to prove with record

 evidence that anyone (much less someone white) was under a final warning for disrespectful

 behaviors, breached that warning, and was not discharged. (Greenham Decl., ¶ 5). There were

 no similarly situated, non-protected employees treated better than her. See Ashford v. Tennessee

 Bd. of Regents, No. 3:16-CV-1032, 2017 WL 5884789, at *3 (M.D. Tenn. Nov. 29, 2017) (citing

 Mitchell v. Toledo Hosp., 964 F.2d 577, 583 n.5 (6th Cir. 1992)).

         Still, she points to a laundry list of Dana employees she believes were treated better. By

 her own admissions, and by the facts set out below, none is similarly situated to her, and none

 received better treatment.

         Before moving to her perceived comparators, it is important to understand what one is.

 These must be employees “similarly situated in all respects” to the plaintiff. Mitchell v. Toledo

 Hosp., 964 F.2d at 583. Stated another way, “the individuals with whom the plaintiff seeks to

 compare [her] treatment must have dealt with the same supervisor, have been subject to the same



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 standards and have engaged in the same conduct without such differentiating or mitigating

 circumstances that would distinguish their conduct or the employer’s treatment of them for it.”

 Smith v. Leggett Wire Co., 220 F.3d 752, 762 (6th Cir. 2000) (citation omitted).

         No evidence supports Ms. Sims-Madison’s contention that Dana treated her differently

 than similarly situated, non-protected employees. She propounded nothing in written discovery

 to this effect. (DN 18-2 and DN 18-3). Then, during her deposition, she put forwarded only

 what she heard about others. (DN 18, pp. 89:21—90:14; 109:21—110:19; 112:9—113:20;

 114:13—116:18; 116:20—117:25; 149:21—150:10; 170:24—171:15; 171:25—174:14). First,

 this is inadmissible hearsay. Back v. Nestle USA, Inc., 694 F.3d 571, 577 (6th Cir. 2012).

 Second, Ms. Sims-Madison cannot rely on herself to raise an issue of fact; she needs to produce

 record evidence. Ashford, 2017 WL 5884789, at *3 (citing Mitchell, 964 F.2d at 583 n.5). And,

 third, if Ms. Sims-Madison could overcome these flaws, no coworker she identified is similarly

 situated in “all of the relevant aspects.” Ercegovich v. Goodyear Tire & Rubber Co., 154 F.3d

 344, 352 (6th Cir.1998) (citations and quotations omitted).

         Indeed, Ms. Sims-Madison presents not one employee in her classification under final

 warning for disrespectful behaviors, who breached that warning, and who was not discharged.

 Instead, she proxies her own opinions—and seemingly is asking that this Court do the same—for

 that of Dana’s human resources department. Of course, “it is inappropriate for the judiciary to

 substitute its judgment for that of management.” Smith v. Leggett Wire Co., 220 F.3d at 763

 (citations omitted). Moreover, many of her “comparators” were treated worse, committed

 conduct unlike what she had done, and were outside her classification or were in other positions.




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                 a.     No comparator under a final warning was treated better.

          To be a comparator, the employees must have been under a final warning, like Ms. Sims-

  Madison. See, e.g., Johnson v. TG Auto. Sealing Kentucky, LLC, No. 5:10-CV-00117-R, 2011

  WL 6292205, at *8 (W.D. Ky. Dec. 15, 2011); Davis v. Target Corp., No. CIV.A.4:05CV105M,

  2007 WL 29446, at *7 (W.D. Ky. Jan. 3, 2007) (“[A] plaintiff cannot prove that she

  is similarly situated with another employee who does not share her disciplinary history.”

  (citations omitted)). The only employee remotely in Ms. Sims-Madison’s circumstance was

  Carla Piper. She is white and over 20 years younger than Ms. Sims-Madison, and had received

  only one 3-day suspension with final warning before she was terminated for further disrespectful

  behaviors. (DN 18, pp. 109:21—110:22; 149:21—150:10; Greenham Decl., ¶ 9). So she was

  treated the same, if not worse, than Ms. Sims-Madison. She also is not a comparator because she

  was a supervisor (discussed below).

          For the rest of the employees identified by Ms. Sims-Madison as having committed

  similar conduct, none was under a final warning and thus not one is relevant. For example, she

  contends, with no knowledge of the facts, that white Dana employee Jason Stone did not get

  disciplined for an argument he had with an African American coworker. Mr. Stone, however,

  was the accuser, and several employees’ corroborated his allegations, which led to the accused’s

  suspension. (Greenham Decl., ¶ 7).

          Ms. Sims-Madison also mentions Kay Adams, a white woman whom Mr. Yancy brought

  to the office because he believed she had cussed at him. (DN 18, pp. 89:21—90:14). But Ms.

  Sims-Madison does not know whether Ms. Adams had any prior complaints about her behavior

  towards Mr. Yancy. (Id.). Nor did she know that Ms. Adams denied cussing but agreed that her




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  behavior was disrespectful and should not be repeated. (Greenham Decl., ¶ 8). Nothing suggests

  Ms. Adams and Ms. Sims-Madison had the same disciplinary history.

          Finally, Ms. Sims-Madison challenges why a white, temporary employee was barred

  from Dana’s property for a year and a black employee was only suspended when the two of them

  argued, and why Ms. Sims-Madison’s white supervisor was suspended for a verbal altercation

  with an employee (although, she seems to believe this was justified: “I was shocked when I

  heard it. But they did suspend JP Bonds, and the next day he came in and quit.”) (DN 18, pp.

  115:3—116:18; 170:24—171:15).5 There is no evidence showing these employees would be

  comparators. They appear to have been treated the same, if not worse, than Ms. Sims-Madison.

  And they too are outside her classification.

          Because Ms. Sims-Madison was under a final warning and then violated that warning

  with additional disrespectful behaviors, she is not similarly situated to any of her proposed

  comparators.

                   b.       Employees who committed different misconduct are not similarly
                            situated.

          More than a few of Ms. Sims-Madison’s alleged comparators were accused of conduct

  unlike what led to her discharge, rendering them incomparable. Clayton v. Meijer, Inc., 281 F.3d

  605, 611 (6th Cir. 2002). These are irrelevant to Ms. Sims-Madison and her claim. For

  example, she believes a 77-year-old maintenance employee received better treatment when he


  5
    Ms. Sims-Madison alleges two employees received better treatment than her after her termination. Brenda
  Johnson, a white woman, she contends was “walk out of the plant, but allowed to come back the next day” after she
  cussed out another employee. (DN 18, p. 112:9—21). While her facts are incorrect, there was an incident with Ms.
  Johnson in August 2020. (Greenham Decl., ¶ 10). A supervisor had accused Ms. Johnson of insubordination when
  she walked away from him despite being asked to stop. (Id.). Ms. Johnson challenged her 3-day suspension,
  alleging she could not hear him. (Id.). She proved through a hearing test to be telling the truth, so Dana rescinded
  the suspension. (Id.). Next she claims that Jeff Brown cussed out an employee and received a three-day suspension.
  (DN 18, p. 112:12—15). This event occurred in September 2020, well after Ms. Sims-Madison’s termination, and
  Dana, in fact, suspended Mr. Brown for five days because of disrespectful behaviors directed at his supervisor.
  (Greenham Decl., ¶ 11).

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  chose retirement6 instead of termination after engaging in a physical altercation with another

  employee. (DN 18, pp. 168:19—169:9; 186:16—17; Greenham Decl., ¶ 6). She also complains

  about a 30-day suspension she believes employees received for engaging in a sex act, the

  discipline others received for attendance issues, and about write-ups employees received for

  work performance. (DN 18, pp. 116:20—117:25; 112:21—113:4; 171:25—174:14).

          But Dana did not terminate Ms. Sims-Madison’s employment for a physical altercation, a

  sex act, attendance, or work performance. It discharged Ms. Sims-Madison because of her

  continued disrespectful, disruptive, and inappropriate behavior in violation of her final warning.

  (DN 18, pp. 128:15—129:5; 131:3—134:8).7

                   c.       Ms. Sims-Madison did not have the same supervisors or job
                            responsibilities as many of her alleged comparators.

          Lastly, several of Ms. Sims-Madison’s alleged comparators had different supervisors and

  were supervisors themselves (e.g., receiving clerk, supervisor)8, eliminating them as

  comparators. Smith v. Leggett Wire Co., 220 F.3d at 762—763. Many were in different

  positions (receiving clerk, supervisor, maintenance, and assembly).9 Often, “employees with

  different job responsibilities may not be similarly situated.” Rutherford v. Britthaven, Inc., 452 F.

  App’x 667, 672 (6th Cir. 2011) (citing Russell v. Ohio, Dep’t of Admin. Servs., 302 F. App’x.

  386, 391 (6th Cir. 2008)). Thus they too are not similarly situated to Ms. Sims-Madison, a

  material handler. But even if they were, not one had Ms. Sims-Madison’s disciplinary history or

  committed the same conduct. (Greenham Decl., ¶ 5).




  6
    Ms. Sims’ Madison also had the option to retire. (DN 18, pp. 145:19—148:3).
  7
    The final complaint that triggered Ms. Sims-Madison’s termination was made by Ms. Sandra Catlett, an African
  American woman, who reported that the plaintiff refused to pull the parts that Ms. Catlett needed, even though Ms.
  Sims-Madison was assigned to pull the production. (DN 18, p. 131:3—20).
  8
    (DN 18, pp. 115:3—116:18; 170:24—171:15; Greenham Decl., ¶ 9).
  9
    (Greenham Decl., ¶¶ 6, 9, 10, and 11).

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          No matter how many employees Ms. Sims-Madison raises or stories she concocts, she

  cannot establish a prima facie case of race discrimination.

                 3.      Ms. Sims-Madison’s Age Discrimination Claim Should Be Dismissed.

          Ms. Sims-Madison’s age discrimination claim also must fail. To establish a prima facie

  case of age discrimination, a plaintiff must show: “(1) membership in a protected group; (2)

  qualification for the job in question; (3) an adverse employment action; and (4) circumstances

  that support an inference of discrimination.” Blizzard, 698 F.3d at 283 (citation omitted). On

  top of this, the burden of persuasion is on the plaintiff to show that “age was the ‘but-for’ cause

  of the employer’s adverse action.” Id. (citing Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 177

  (2009)).

          To begin, Ms. Sims-Madison can offer no evidence that age was the “but-for” cause of

  her termination. See Blizzard v. Marion Tech. Coll., 698 F.3d at 283. Her own race claim makes

  clear that age is not the “but-for” cause of her termination. Id.; Grubb v. YSK Corp., 401 F.

  App’x. 104, 113 (6th Cir. 2010); Green v. Fid. Inv., 374 F. App’x. 573, 577 (6th Cir. 2010).

          Beyond that, this claim fails because, as set forth above, Dana did not replace her. Nor is

  there any evidence that someone substantially younger than Ms. Sims-Madison who was under a

  final warning for disrespectful conduct, and who violated that warning, was not discharged. In

  fact, Ms. Sims-Madison did not try to suggest comparators for her age discrimination claim. As

  Ms. Sims-Madison testified, many people who work at Dana have 35-45 years of experience.

  (DN 18, p. 187:11—14).

          When asked if anyone in management ever made age-related comments, Ms. Sims-

  Madison testified that Mr. Greenham and Ms. Robertson, between October 2018 and January

  2019, asked her about her retirement date and the paperwork that would be needed. (DN 18, pp.

  124:19—128:14). Her own Union leadership asked this as well. (Id.). Recall, Ms. Sims-
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  Madison had stated she would retire in January 2019, and that was part of her final warning

  letter. (DN 20-1, pp. 56:4—23, 63:15—16; DN 18-3 and DN 18-8). Ms. Sims-Madison never

  told anyone she had changed her mind. (DN 18, pp. 124:19—128:14). And she fully

  understands, based on her final warning, why they were asking about her retirement: “[b]ecause

  see, I had never paid any attention to the letter, and that made sense why everybody was asking

  the question.” (DN 18, p. 128:12—14). None of this is improper.

          Ms. Sims-Madison cannot establish a prima facie case of age discrimination.

                 4.     No Pretext.

          Even if Ms. Sims-Madison could show some prima facie age or race discrimination

  claim, her complaint still fails. No evidence can prove Dana’s legitimate nondiscriminatory

  reasons for her discharge were pretextual. Ms. Sims-Madison lost her job because she violated

  her final warning. She can advance nothing that would lead a factfinder to conclude otherwise.

          “To carry her burden in opposing summary judgment, [Plaintiff] must produce sufficient

  evidence from which a jury could reasonably reject [Dana]’s explanation of why it” terminated

  her employment upon a clear violation of her final warning. Chen v. Dow Chem. Co., 580 F.3d

  394, 400 (6th Cir. 2009) (citation omitted) (citing Mickey v. Zeidler Tool and Die Co., 516 F.3d

  516, 526 (6th Cir. 2008)). “Pretext is a commonsense inquiry: did the employer [take the

  adverse action against] the employee for the stated reason or not? This requires a court to ask

  whether the plaintiff has produced evidence that casts doubt on the employer’s explanation, and,

  if so, how strong it is.” Id. at 400, n. 4. Ms. Sims-Madison has provided no evidence that casts

  doubt on the reason for her discharge.

          As to whether Ms. Sims-Madison’s conduct warranted discharge, she merely disagrees

  with the allegations against her and she points to the “comparators” she believes committed



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  “similar” infractions. Again, there is no evidence of any person of a different race or age,

  similarly situated in all material respects, whom Dana treated better.

          The bottom line is that Dana’s legitimate nondiscriminatory reasons for terminating Ms.

  Sims-Madison employment were not pretext for race or age discrimination.

                                         IV.     CONCLUSION

          For all these reasons, Dana requests that this Court grant it summary judgment on Ms.

  Sims-Madison’s claims.



                                                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on the 17th day of February 2021, I filed the Motion for Summary

  Judgment using the Court’s CM/ECF system, which will send electronic notice to the following:

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